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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

| Original Plan
LE] Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
[mi] 3rd Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Edison Gomez JOINT DEBTOR: Maribel Claudio Mejias CASE NO.: 15-29242-SMG
SS#: xxx-xx- 9047 SS#: xxx-xx-6787
I. NOTICES |
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

 

The valuation of a secured claim, set out in Section III, which may result ina ;

partial payment or no payment at all to the secured creditor [a] Included [_] Not included

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set .

out in Section Lil [] Included [m] Not included

Nonstandard provisions, set out in Section VIIT (@] Included [-] Not included
II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

I. $881.26 formonths 1 to _56_;
2, $897.10 for months _57_ to_60_;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [7] PRO BONO
Total Fees: $4550.00 Total Paid: $2000.00 Balance Due: $2550.00
Payable $45.53 /month (Months | to 56 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3,500 Chapter 13 Case, $1050 for 2 Motions to Modify car loan term

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [] NONE
[Retain Liens pursuant to 1] U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

1. Creditor: Wells Fargo Bank

 

 

Address: PO Box 660553 Arrearage/ Payoff on Petition Date $3,886.17
Dallas, TX 75266 Arrears Payment (Cure) $66.86 ‘month (Months [_ to 56 )
Last 4 Digits of Arrears Payment (Cure) $35.44 /month (Months 57 to 60 )
Account No.: 4682
Other:

 

 

 

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Debtor(s): Edison Gomez, Maribel Claudio Mejias

Case number: 15-29242-SMG

 

 

Address of Collateral:

[@] Personal Property/Vehicle
Description of Collateral: TTEMS PURCHASED FROM EL DORADO FURNITURE

 

~ Real Property Check one below for Real Property:
[_ Principal Residence [_]Escrow is included in the regular payments
[m|Other Real Property [w]The debtor(s) will pay [_]taxes [_]insurance directly

 

 

B. VALUATION OF COLLATERAL: [] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON

YOU PURSUANT TO BR 7004 AND LR 3015-3,
1. REAL PROPERTY: [lj] NONE
2. VEHICLES(S): [[] NONE

 

DALLAS, TX 75219

Last 4 Digits of Account No.: 6482 Interest Rate: 525.00%
VIN: 3GNEC12J07G149627

Description of Collateral:
2007 Chevy Avalanch

 

 

Check one below:

_ incurred 910 days or more pre-
petition

oa incurred less than 910 days pre-

1. Creditor; Capital Asset Recovery Value of Collateral: $10,525.00
Address: P.O. BOX 192585 Amount of Creditor's Lien: $11,722.00

Payment

Total paid in plan: $12,712.80

$220.89 — /month (Months _1 to 56)
$166.43 /month (Months 57 to 60)

 

VIN: STDZA3EHOBS016641

Description of Collateral:
2011 Toyota Highlander

 

 

Check one below:

mam incurred 910 days or more pre-
petition

Mies incurred less than 910 days pre-
petition

 

 

 

petition
2. Creditor; World Omni Financial Corp. | Value of Collateral: $0.00 Payment
Address: POB 991817 Amount of Creditor's Lien: $0.00 Total paid in plan: $14,878.20
Mobile AL 36691
Last 4 Digits of Account No.: 3384 Interest Rate: 525.00% $272.79 _/month (Months _! to 56)

 

3. PERSONAL PROPERTY: [fm] NONE
C. LIEN AVOIDANCE [i] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a

distribution fom the Chapter 13 Trustee.
{—]] NONE

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Debtor(s): Edison Gomez, Maribel Claudio Mejias Case number: 15-29242-SMG
E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.
[_] NONE

(@)] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights,

 

 

 

 

 

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address Vehicle, etc.)
Contempo Walk HOA, Inc. 341 341 NW 154 Ave

I. Pembroke Pines, FL 33028
Flagstar Bank 7966 341 NW 154 Ave

2. Pembroke Pines, FL 33028

, US Department of Education 5450 Student loans

we

4 Sol Melia Vacation Club 5331 Time Share in Puerto Rico
Towngate at Pembroke Pines 341 341 NW 154 Ave

5. Pembroke Pines, FL 33028

é World Omni 3384 2011 Toyota Highlander

 

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [a] NONE
B. INTERNAL REVENUE SERVICE: [ii] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): lm] NONE
D. OTHER: [i] NONE
Vz. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A, Pay $234.85 /month (Months 1 to 56 )

Pay 5613.68 /month (Months 57 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C, SEPARATELY CLASSIFIED: [ii] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322,
VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.
[=] NONE
VIL. INCOME TAX RETURNS AND REFUNDS: ["] NONE

[ii] Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
15th during the pendency of the Chapter 13 case. In the event the debtor(s)’ disposable income or tax refunds increase,
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. [Broward/Palm Beach cases]

VIII. NON-STANDARD PLAN PROVISIONS [7] NONE

[@) Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

Creditor World Omni account number 3384 for the 201] Toyota Highlander was paid until month since the vehicle
was a total loss.

 

[-] Mortgage Modification Mediation

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

/s/ Edison Gomez Debtor 7/15/2020 /s/ Maribel Claudio Mejias Joint Debtor 6/30/2020
Edison Gomez Date Maribel Claudio Mejias Date
/s/ Ricardo Corona, Esq. 7/15/2020

Attorney with permission to sign on Date

Debtor(s)' behalf
By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and

order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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